Case 8

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Ta;mmy H'ussim (B'~ar Nn. 155299}
Of C.c;au?rse-£

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T:llcphone (`855) 301-2100 cx:£. 5.5-£4
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1 EUD Summer Street

S'£;amfurd., CT 06905

Telcfp§zone: {ZDS) 653-2256
Faj'csim§le: (2£§3}'653-3424

Aitorneys for Pla;in£i§£ Sa:san Morcy

Susan M.ur.ey',
PI;H;§I’-ltiff,
vs.

`Westlakc Fin.ancial; and DUES 1--10.,
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Defendmlts,

 

 

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UNI'I`ED STATEB DISTRJCT 'C=OURT
CENTRAL D`§STRICT 'O'F CA.LEFUR'NIA
S-U'UTHERN BIV§[SION

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Case~N:"o.: \_“1332. JVS (RN

SMN1

COMPLAINT F.OR` DAMA.GES-

I.- V`EDLATION OF FA§{_R DE`B T
C{}LLECTIUN` P‘RACTICES ACT,=
15 U,S.C.. § 1592- ET. SE-Q;

Z. VIU_L.A`TI C}N O'F .FA§[R BE‘E T
COLLECTIUN PRA_TICES ACT,
C`A_.L..CIV..C{)¥DE § 1733 ET, SEQ.

.IURY TREAL DEMANDED

 

 

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For this Complaint, the Plaintiff, Susan Morey, by undersigned counsel, states
as follows:

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l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES
4. The Plaintiff, Susan Morey (hereafter “Plaintift”), is an adult individual

residing at 16831 Blanton Lane, #A, Huntington Beach, California 92649, and is a
“consurner” as the tenn is defined by 15 U.S.C. § l692a(3).

5. Defendant, Westlake Financial (“Westlal<e”), is a California business
entity With an address of 4751 Wilshire Blvd, #100, Los Angeles, Califomia,
operating as a collection agency, and is a “debt collector” as the tennis defined by 15

U.S.C. § l692a(6).

 

2 COMPLAH\IT FOR DAMAGES

 

 

 

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6. Does l-l() (the “Collectors”j are individual collectors employed by
Westlake and Whose identities are currently unknown to the Plaintiff. One or more of
the Collectors may be joined as parties once their identities are disclosed through
discovery

7. Westlake at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE lTO ALL COUNTS
A. The Debt

8. Jennifer Dixon (the “Debtor”), a person unknown to Plaintiff, allegedly
incurred a financial obligation (the “Debt”) to a Creditor (the “Creditor”).

9. The Debt arose from services provided by the Creditor Which Were
primarily for family, personal or household purposes and Which meets the definition
of a “debt” under 15 U.S.C. § l692a(5).

lO. The Debt Was purchased, assigned or transferred to Westlake for
collection, or Westlake Was employed by the Creditor to collect the Debt.

ll. The Defendants attempted to collect the Debt and, as such,'engaged in

“comrnunications” as defined in 15 U.S.C. § l692a(2).
B. Westlake Eng§ges in Harassment and Abusive Tactics

12. Within the last year, Westlake contacted Plaintiff in an attempt to collect

the Debt.

 

3 COMPLAINT FOR DAMAGES

 

 

 

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13. During the initial conversation and in every conversation thereafter,
Plaintiff informed Westlake that the Debtor does not reside there and Plaintiff does
not know the Debtor and requested that Westlake cease all communications with
Plaintiff

14. Despite Plaintiff’s repeated requests to cease contacting her, Westlake
continued to contact Plaintiff at an excessive and harassing rate, causing Plaintiff’s
telephone to ring daily.

15 . Westlake caused Plaintiff’s telephone numerous times a day for
successive days in a row, sometimes causing Plaintiff’ s telephone to ring up to
eighteen (18) times in a single day, causing Plaintiff a great amount of distress and

aggravation
C. Plaintiff Suffered Actual Damag§

16. The Plaintiff has suffered and continues to suffer actual damages as a
result of the Defendants’ unlawful nconduct.

l7. As a-direct consequence of the Defendants’ acts, practices and conduct,
the Plaintiff suffered and continues to_ suffer from hurniliation, anger, anxiety,

emotional distress, fear, frustration and embarrassment

 

 

4 COMPLAINT FOR DAMAG_ES

 

 

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18. The Defendants’ conduct was so outrageous in character, and so extreme
in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.

COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

15 U.S.C. § 1692, et seg.
19. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

20. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § l692d.

2l. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § 1692d(5).

22. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited
provisions

23. The Plaintiff is entitled to damages as a result of the Defendants’

violations

 

5 COMPLA]NT FOR DAMAGES-

 

 

 

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COUNT II
V.[OLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
PRACTICES ACT. Cal. Civ. Code § 1788 et seq_=

24. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

25. The Rosenthal Fair Debt Collection Practices Act, Califomia Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

26. Westlake Financial, in the regular course of business, engages in debt
collection and is a “debt collector” as defined by Ca_l. Civ. Code § 1788.2(0).

27. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § 1788.11(d).

28. The Defendants communicated with the Plaintiff with such frequency as

to be considered harassment, in violation of Cal. Civ. Code § 1788.1l(e).

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

Defendants;

 

6 COMPLAINT FOR DAMAGES

 

 

 

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. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against the Defendants;

. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

§ l692k(a)(3) against the Defendants;

. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);

. Statutory damages of $1,000.00 for knowingly and willfully committing

violations pursuant to Cal. Civ. Code § 1788.30(b);

. Actual damages from the Defendants for the all damages including

emotional distress suffered as a result of the intentional, reckless, and/or

negligent FDCPA violations and intentional, reckless, and/or negligent

l invasions of privacy in an amount to be determined at trial for the

Plaintiff;

G. Punitive damages; and

H. Such other and further relief as may be just and proper.

 

 

 

7 COMPLAINT FOR DAMAGES

 

 

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TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: September l, 2011 TAMMY HUSSIN

 

By:
Tammy Hussin Of Counsel
Lemberg '&i Associates, LLC
Attomey for Plaintiff, Susan Morey

 

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8 COMPLA]NT FOR DAMAGES

 

 

 

 

Case 8:11-cV-01332-.]VS-RNB Document 1 Filed 09/01/11 Page 9 of 12 Page '|D #:10

UNlTED STATES DISTRICT COUR'I`, CENTRAL DISTRICT OF CALIFORNIA © © P lv|

 

_ ClVIL COVER SHEET
l (a) PLAINTIFFS (Check box if you are representing yourself C1) ~ DEFENDAN'I`S 7
Susan Morrey
Westlake Financial

 

(b) Attomeys (Finn Name, Address and Telephone Number. lfyou are representing Attomeys (If Known)
yourself, provide same.)
Tammy Hussin, 6404 Merlin Drive, Carlsbad, CA 92011

855-301-2300 X 5514
Lemberg & Associates, 1100 Summer St 3rcl Fl Stamford CT 06905 2036532250

 

 

II. BASIS OF JURISDIC'|`!ON (Place an X in one box only.) lII. Cl'l`IZENSl-!IP OF PRINClPAL ¥ARTIES ~ For Diversity Cases Only
(Place an X in one box_ for plaintiff and one for defendant.)
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ofBusiness in this State
111 2 U.S. Govemment Defendant C] 4 Diversity (Indicate Citizenship Citizen ofAnother State D 2 111 2 incorporated and Principal Place 111 5 |'_'1 5
of Parties in Item lll) of Business in Another State
Citizen or Subject of a Foxeign Country El 3 Cl 3 Foreign Nation` U 6 111 6

 

 

lV. ORIGIN (Place an X in one box only.)

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Proceeding State Court Appe|late Court Reopened Dis!rict Judge from
Litigation Magistrate Judge

V. REQUESTED lN COMPLAINT: JURY DEMAND: E{Yes Cl No (Check ‘Yes’ only if demanded in complaint,)
cLAss AcrloN under F.nc.P. 231 1:1 Yes E(Ne E{MONEY DEMANDED 1N coMPLAmr= s_l?_a__m_aggsl_f_¢_§§_,_qg_§gs_______
VI. CAUSE OF AC'I`ION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
15 U.S.C. 1692 - Violations of the Fair Debt Collection Practices Act
Vll. NATURE OF SUIT (Place an X in one box only.)

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AFTER COMPLETING THE FRONT SIDE OF FORM CV-7l, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV~71 (0$/08) ‘ '_ CIVIL COVER SHEE'[ Page 1 of 2

 

 

Case 8:11-cV-01332-.]VS-RNB Document 1 Filed 09/01/11 Page 10 of 12 Page |D #:11

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
C!VIL COVER SHEET

Vlll(a). [DENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? I§(No L`,l Yec
If yes, list case number(s): .

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to thc present casc? 121 No 121 Yes
If yes, list case number(s): .

Clvil cases are deemed related ita previously filed case and the present onset
(Check all boxes that apply) Ei A. Arise from the same cr closely related transactions, happenings, or events; or
l:| B. Call for determination of the same or substantially related or similar questions of law and fact; or
lT.l C. For other reasons would entail substantial duplication of labor if heard by different judges; or
l Cl D. Involve the same patent, trademark or copyright, g_il<j one of the factors identified above in a, b or c also is present

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District', Califomia County outside of this District', State if other than Califomia', or Foreign Country, in which EACH named plaintiff resides.
l:l Check here if the Memment, its agencies or employees is a named plaintiff lf this box is checked, go to item (b).

County in this District:* Calit`ornia County outside of this District; State, if other than Calit`ornia', or Foreign Country

 

 

County of Orange

 

(b) lsist the County in this District; Calii`omia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
L'_l Check here if the govemment, its agencies or employees is a Lamd defendant lf this box is checked, go to item (c).

County in this Disfrl`¢t:* Calii`ornia County outside oi`this District; State, if other than Califomia; or Foreign Country

 

 

County of Los Arigeles

 

 

(c) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land lnvolved.

County in this District:* . Calif`ornia County outside of this District; State, if other than Calit`omia; or Foreign Country

 

 

County .of Los Angeles

 

 

 

 

* Los Angeles, Orange, San Bcrnardino, Riverside, Ventura, Santa Barbara, or San Luls Obis_po Counties
Note: In land condemnation cases use the location of the tract of land involved `

 

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Notice to Counsel/Parties: The CV~'I 1 (JS-44) Civil Covcr Sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings
or other papers as required by law. Thi's form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court. for the purpose ofstatistics, venue and initiating the civil docket sheets (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substaiitige Statement of Cause ofAction

861 1-11A ‘ - Al| claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Securi'ty Act, as amended
~ Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. l935FF(b)) '

862 BL v All claims for “Black Lung” benefits under Title 4, Part B, of the Federai Coal Mine Heallh and Sai`ety Act of 1969.
t (30 U.S.C. 923) ' _ _ _
863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Seeun'ty Act, as
' - amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Social Security 6
Act, as amended. (42 U.S.C. 405(3)) ‘

864 SSID All claims for supplemental security income payments based upon disability filed under 'I`itle 16 of the Sociai Security
Act, as amended ‘

865 RS! All claims for retirement (old agc) and survivors benefits under Title 2 of the Social Security Aet, as amended (42
U.S.C. (g)) '

CV-71 (05/08) . ` CIVIL COVER SHEET 4 Page 2 01`2

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge J ames V. Selna and the assigned
discovery Magistrate Judge is Robert N. Block.

The case number on all documents filed With the Court should read as follows:

lsAcv11- 1332 va (RNB::)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [)(] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTlCE OF ASSIGNMENT TO UN\TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

 

CaSe 8:11-cV-01332-.]VS-RNB Document 1 Filed 09/01/11 Page 12 of 12 P_age |D #:13

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UNITED STATES DISTRICT COURT
CE’NTRAL DISTRICT OF CALLIFORNIA

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